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UNITED STATES DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE:                                          §       CASE NO.
                                                §
GWG HOLDINGS, INC., et al.,                     §       22-90032 (MI)
                                                §       (Chapter 11)
                                                §
        DEBTORS 1                               §       Jointly Administered

          NOTICE OF APPOINTMENT OF COMMITTEE OF BONDHOLDERS

TO THE HONORABLE MARVIN ISGUR
UNITED STATES BANKRUPTCY JUDGE:

       COMES NOW Kevin M. Epstein, the United States Trustee for Region 7, who pursuant to
11 U.S.C. § 1102(a)(1) hereby appoints the following eligible bondholders to the Committee of
Bondholders in these chapter 11 cases:




1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); and GWG Life USA,
LLC (5538). The location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’
service address is 325 N. St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the
Debtors and the chapter 11 cases is available at the website of the Debtors’ claims and noticing agent:
https://donlinrecano.com/gwg.
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Dated: May 9, 2022                            Respectfully Submitted,

                                              KEVIN M. EPSTEIN
                                              UNITED STATES TRUSTEE

                                              By:     /s/ Hector Duran
                                                      Hector Duran
                                                      Trial Attorney
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by electronic means
on all PACER participants on this 9th day of May, 2022.

                                              /s/ Hector Duran
                                              Hector Duran, Trial Attorney




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